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 7   SECONDARY LIFE THREE LLC
 8                     UNITED STATES DISTRICT COURT

 9                            COUNTY OF LOS ANGELES

10   SECONDARY LIFE THREE LLC,                       2:20-cv-09034
                                           CASE NO. ______  ____________________
11
                 Plaintiff,                           COMPLAINT
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13
           vs.
                                                   (Jury Trial Demanded)
14   TRANSAMERICA LIFE
     INSURANCE COMPANY,
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16               Defendant.
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                                      COMPLAINT
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 1        The plaintiff alleges:
 2                 THE PARTIES, JURISDICTION, AND VENUE
 3        1. This Court has diversity jurisdiction over this matter under the
 4 provisions of 28 United States Code § 1332 because the amount in controversy

 5 exceeds the sum of $75,000 and there is diversity of citizenship between all

 6 the parties.

 7        2. Plaintiff Secondary Life Three LLC (“SL3”) is a corporation
 8 incorporated in Delaware with its principal place of business in Florida.

 9        3. Plaintiff is informed and believes that Defendant Transamerica Life
10 Insurance Company is a life insurance company that is successor in interest

11 to Transamerica Occidental Life Insurance Company. Transamerica

12 Occidental issued a life insurance policy which is the subject of this dispute.

13 When issuing the policy, Transamerica Occidental was incorporated and

14 headquartered in the State of California and issued the contract of insurance

15 from its home office located in Los Angeles. Transamerica Life was

16 incorporated in the State of Iowa and has its principal place of business

17 located there. This Complaint will refer to Transamerica Occidental and

18 Transamerica Life collectively as “Transamerica.”

19        4. Venue is proper in this judicial district under the provisions of 28
20 United States Code § 1391 because the insurance contract in dispute was

21 issued by Transamerica at its home office in Los Angeles.

22                            FIRST CAUSE OF ACTION
23                                 Breach of Contract
24        5. The plaintiff incorporates here by reference paragraphs 1 through4.
25        6. On January 27, 1994, Transamerica issued a life insurance policy,
26 number 92463004 (“the Policy”), jointly insuring Ben J. Barnett and Betty L.

27 Barnett, and providing for payment of a benefit in the face amount of

28 $1,000,000 to the owner of the insurance contract, Robert Arnold Barnett
                                         -1-
                                       COMPLAINT
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 1 Trustee of the Ben J. Barnett and Betty Lange Barnett Life Insurance Trust

 2 Dated November 17, 1993. In return for premiums of just under $40,000 per

 3 year, the Policy provided for payment of the death benefit “if both Joint

 4 Insureds die before the Maturity Date.”

 5        7. The Policy stated no precise Maturity Date. The exact wording of the
 6 Policy stated: “The Maturity Date is the policy anniversary nearest the

 7 Insureds’ Joint Equal Age 100.” The Policy defined this wording as follows:

 8 “Joint Equal Age means the adjusted age of a male and a female insured

 9 which reflects a risk that would be equivalent to two people of the same age,

10 class of risk and smoking status.” Neither insured had ever smoked or had a

11 special known risk class. At the time Transamerica issued the Policy, both

12 insureds were 70 years old. The Policy did not state that it matured on

13 January 27, 2024, or any other specific date. A reasonable interpretation of

14 the Policy was that it would mature when the first of the two insureds

15 reached the age of 100.

16        8. Plaintiff is informed and believes that, after issuance of the Policy,
17 Transamerica Occidental merged into Transamerica Life, and at that time

18 Transamerica Life assumed all obligations under the Policy.

19        9.   Ben J. Barnett died of a heart attack at age 84 on July 14, 2008.
20        10. SL3 purchased the Policy for $315,000 and became the owner and
21 beneficiary on February 23, 2011. At the time, Betty L. Barnett was 86.

22 Transamerica acknowledged SL3’s ownership of the Policy and thereafter

23 communicated regularly with SL3 and repeatedly confirmed in status calls

24 that the Policy remained active, in force and in good standing.

25        11. SL3 timely and fully complied with all terms of the Policy by paying
26 all premiums required by the contract of insurance on an ongoing basis, a

27 total of $295,150, bringing its total investment in the asset to $610,150, until

28 Betty L. Barnett died on April 23, 2020, days prior to her 96th birthday.
                                         -2-
                                        COMPLAINT
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 1        12. Before Betty L. Barnett died, Transamerica notified SL3 on
 2 February 27, 2020, that the Policy matured (i.e., canceled), stating that its

 3 “underwriter determined the Joint Equal Age to be 74” at issuance and,

 4 therefore, “Maturity was joint equal age 100, effective January 27, 2020.”

 5        13. The Policy nowhere stated that Maturity occurred on January 27,
 6 2020. Although SL3 is in the business of insurance, when SL3 purchased the

 7 Policy it understood, believed, and reasonably intended, as did the selling

 8 beneficiary, for coverage to continue until the Policy anniversary nearest

 9 Betty L. Barnett’s 100th birthday on January 27, 2024. No ordinary,

10 reasonable person would have understood the Policy to mean otherwise.

11        14. Any limitation on insurance coverage stated in the Policy which
12 might call for cancelation of benefits prior to one of the joint insureds reaching

13 age 100 is unenforceable as against public policy because: (a) the limitation is

14 not precise and unambiguous, (b) the limitation is not conspicuous, and (c) the

15 limitation is not plain and clear. Not only is the language used by

16 Transamerica not part of the vocabulary of average lay people, it is not even

17 in the language used by insurance professionals. The wording is completely

18 unintelligible and requires deciphering a puzzle to begin to read the coverage

19 limitation contended by Transamerica.

20        15. Transamerica has breached its insurance contract by canceling
21 coverage prior to Betty L. Barnett reached the age of 100, canceling prior to

22 her death, and as a result of Transamerica’s wrongful conduct SL3 has lost

23 $1,000,000 plus prejudgment interest.

24                          SECOND CAUSE OF ACTION
25                                 Declaratory Relief
26        16. SL3 incorporates here by reference paragraphs 1 through 14.
27        17. There is an existing controversy between SL3 and Transamerica
28 concerning the Policy. Transamerica contends that it properly canceled the
                                        -3-
                                       COMPLAINT
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 1 Policy based on a maturity date of January 27, 2020. SL3 contends that

 2 Transamerica had no legal right to terminate coverage under the Policy.

 3        18. SL3 is entitled to a declaration that the Policy remained in full force
 4 and effect at the time of Betty L. Barnett’s death.

 5        ACCORDINGLY, the Plaintiff requests a judgment for:
 6        1. A declaration that the Policy did not mature and cancel on January
 7 27, 2020, and instead remained in force as of the date Betty L. Barnett died

 8 on April 23, 2020;

 9        2. Policy benefits of $1,000,000;
10        2. Prejudgment interest;
11        3. Costs; and
12        4. Other relief as the Court deems proper.
13                                    JURY DEMAND
14        Plaintiff hereby demands a trial by jury.
15 Dated: October 1, 2020

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                                       COMPLAINT
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